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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISON

 HAMMER BRAND, LLC,

                                  Plaintiff,
                                                             Case No.: 8:23-cv-1272-KKM-
       v.                                                    MRM

 VORO, INC,

                                  Defendant,

 And

 NINGBO KAABO TECHNOLOGY CO., LTD.,

                           Third-Party Defendant.
                                                        /



              UNOPPOSED MOTION FOR SPECIAL ADMISSION PRO HAC VICE
        Tao Liu, Esq. moves for special admission to represent Third-Party Defendant Ningbo

Kaabo Technology Co., Ltd., in this action.

        I am neither a Florida resident nor a member in good standing of The Florida Bar.

        I am licensed to practice in the State of New York and a member in good standing of the

Supreme Court of The United States, U.S. District Courts for the New York Southern, Northern

and Eastern Districts, Colorado District Court, Illinois Northern District Court, Texas Eastern

District Court, and U.S. Court Of Appeals, Federal Circuit.

            I have not abused the privilege of special admission by maintaining a regular law practice

 in Florida. I have initially appeared in the last thirty-six months in these cases in state or federal

 court in Florida:

        I have not appeared in any cases in Florida in the last thirty-six months.
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       I will comply with the federal rules and this Court’s local rules.

       I am familiar with 28 U.S.C. § 1927, which provides:

       Any attorney or other person admitted to conduct cases in any court of the United States or
       any Territory thereof who so multiplies the proceedings in any case unreasonably and
       vexatiously may be required by the court to satisfy personally the excess costs, expenses,
       and attorneys’ fees reasonably incurred because of such conduct.

       I have paid the fee for special admission or will pay the fee upon special admission.

       I will register with the Court’s CM/ECF system.

       I affirm the oath, which states:

       I will support the Constitution of the United States. I will bear true faith and allegiance to
       the government of the United States. I will maintain the respect due to the courts of justice
       and all judicial officers. I will well and faithfully discharge my duties as an attorney and
       officer of this Court. I will conduct myself uprightly and according to the law and the
       recognized standards of ethics of the legal profession.


                                               /s/ Tao Liu
                                                Tao Liu
                                               Glacier Law LLP
                                               41 Madison Avenue, Suite 2529
                                               New York, NY 10010
                                               Phone: 332-208-1505
                                               Tao.liu@glacier.law


 DATED: August 28, 2023.                       Respectfully submitted,
                                               /s/ Andrew J. Palmer
                                               Andrew J. Palmer
                                               Jared W. Gasman Attorney, P.A.
                                               5353 N. Federal Highway, Suite 402
                                               Fort Lauderdale, FL 33308
                                               Phone: 954-771-7050
                                               ajpalmer@gasmanlaw.com

                                 Local Rule 3.01(g) Certification

       Pursuant to Local Rule 3.01(g), the undersigned certifies that he has conferred with

Plaintiff’s counsel Ross M. Babbitt, and Defendant’s counsel R. Joseph Trojan, who advise that

they have no objection to the relief sought in this Motion.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 28, 2023, I filed a true and accurate copy of the

foregoing with the Clerk of the Court by using the CM/ECF system, and service was perfected on

all counsel of record and interested parties through this system, which will deliver a true and

correct copy of the foregoing documents via CM/ECF.




 DATED: August 28, 2023.                   Respectfully submitted,

                                            /s/ Andrew J. Palmer
                                            Andrew J. Palmer
                                            Jared W. Gasman Attorney, P.A.
                                            5353 N. Federal Highway, Suite 402
                                            Fort Lauderdale, FL 33308
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